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 Gomez Jeffrey

 From:                             Gomez Jeffrey
 Sent:                             Thursday, November 16, 2017 10:50 AM
 To:                               A.C.
 Cc:                               MacDonald Allison; Allensworth Scott


 Good morning
                A.C.

 I wanted to follow up with our phone conversation from yesterday regarding S.T.C.'s concerns with several students
 harassing her here at Everitt. Ms. MacDonald and I took action with those that S.T.C.states are involved. S.T.C. said
 that she is being pushed into lockers before school but couldn't identify the student who did this to her last week and
 this week. I will be looking at video in the hallway that she says this is happening in to see if I can determine what is
 happening and by what student. If these things continue please contact Ms. MacDonald or myself or have S.T.C. talk to
 us at school.

 Thanks,
 Jeff

 Principal
 Everitt Middle School
 303 982-2852 voice mail
 303 982-1580 school




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